Case 4:19-cv-04139-BAB Document 30                   Filed 06/30/20 Page 1 of 2 PageID #: 172



                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

LAVARIOUS JONES                                                                        PLAINTIFF

v.                                    Civil No. 4:19-cv-04139

SERGEANT GRIFFIE, Miller County Detention Center
(“MCDC”); CAPTAIN ADAMS, MCDC; OFFICER
GOLDEN, MCDC; and CORPORAL MOORE, MCDC                                             DEFENDANTS


                                             ORDER



To: SHERIFF STEVE FRANKS, GREENE COUNTY, ARKANSAS



       You are directed to assist the Plaintiff, Lavarious Jones, in viewing the flash drives sent to

him by Defendants’ Counsel, Jamie Huffman Jones, in connection with a pending Summary

Judgment Motion. The flash drives contain video evidence of importance to this case. Plaintiff

cannot respond fully to the Summary Judgment Motion without viewing the evidence.

       You are directed to provide the Plaintiff with the necessary access to either a computer or

some other means of viewing the evidence contained on the flash drives and to provide someone

with enough technical knowledge to ensure the video is properly displaying on the monitor.

Plaintiff should be provided with this opportunity by no later than July 17, 2020. Plaintiff will

need sufficient time to allow him a meaningful opportunity to view the videos and have the ability

to make notes during the viewing. Plaintiff may need to pause the videos and/or replay to view

and understand its full contents.

       The Clerk is directed to send this Order to Sheriff Steve Franks, 1809 N. Rockingchair

Rd., Paragould, Arkansas 72450, by certified mail return receipt requested.


                                                 1
Case 4:19-cv-04139-BAB Document 30           Filed 06/30/20 Page 2 of 2 PageID #: 173



     IT IS SO ORDERED this 30th day of June 2020.

                                               /s/ Barry A. Bryant
                                               HON. BARRY A. BRYANT
                                               UNITED STATES MAGISTRATE




                                         2
